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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   OUTSOURCING FACILITIES
   ASSOCIATION, ET AL.,

        Plaintiffs,

   v.                                                No. 4:24-cv-00953-P

   UNITED STATES FOOD AND DRUG
   ADMINISTRATION, ET AL.,

        Defendants.
                                   ORDER
      Before the Court is Plaintiffs’ Emergency Motion for a Temporary
   Restraining Order. ECF No. 7. Having reviewed the Motion, the Court
   finds it appropriate to order expediting briefing in this matter. Therefore
   it is ORDERED that Defendants’ response is due on or before Friday,
   October 11, 2024, and Plaintiffs’ reply is due on or before Tuesday,
   October 15, 2024.

      It is further ORDERED that Plaintiffs shall transmit a copy of this
   order to Defendants this very day.

        SO ORDERED on this 8th day of October 2024.
